Shaw, J. On the authority of the case of In re KirkmanEstate, 168 Cal. 688, [144 P. 745], the order appealed from will be affirmed.
The only difference between that case and this is that in that case the guardian removed was not a parent of the minor while in this case the guardian displaced was her father. This relationship, however, is of no consequence, since the statute gives the minor the authority to select a new guardian, and does not make such power dependent upon relationship. The order of the court appointing the nominated guardian constitutes an approval of her selection, and *Page 248 
makes the order valid under the statute unless it is made to appear that the court below abused its discretion in such approval. No attempt is made to show this.
The order is affirmed.
Sloss, J., and Lawlor, J., concurred.